     Case 14-15985              Doc 10        Filed 04/30/14 Entered 05/02/14 23:41:47                                Desc Imaged
                                              Certificate of Notice Page 1 of 4
B9I (Official Form 9I) (Chapter 13 Case) (12/12)                                                                       Case Number 14−15985
                                    UNITED STATES BANKRUPTCY COURT
                                                     Northern District of Illinois
               Notice of Chapter 13 Bankruptcy Case, Meeting of Creditors, & Deadlines
                                  The debtor(s) listed below filed a chapter 13 bankruptcy case on 4/29/14.

You may be a creditor of the debtor. This notice lists important deadlines. You may want to consult an attorney to protect your rights.
All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below. NOTE: The staff of the
bankruptcy clerk's office cannot give legal advice.
                   Creditors −− Do not file this notice in connection with any proof of claim you submit to the court.
                                               See Reverse Side For Important Explanations
Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
Leonard B. Young
522 Pontiac Street
Joliet, IL 60432
Case Number: 14−15985                                                   Social Security / Individual Taxpayer ID / Employer Tax ID / Other
Office Code: 1                                                          nos:
                                                                        xxx−xx−8227
Attorney for Debtor(s) (name and address):                              Bankruptcy Trustee (name and address):
David M Siegel                                                          Glenn B Stearns
David M. Siegel & Associates                                            801 Warrenville Road
790 Chaddick Drive                                                      Suite 650
Wheeling, IL 60090                                                      Lisle, IL 60532
Telephone number: 847 520−8100                                          Telephone number: 630−981−3888

                                  Meeting of Creditors:
Date: May 28, 2014                           Time: 10:00 AM
Location: 150 West Jefferson Street, 2nd Floor, Joliet, IL 60432
All debtors are required to attend and bring a picture ID and proof of their Social Security Number to the
341 meeting.
                                                                 Deadlines:
                            Papers must be received by the bankruptcy clerk's office by the following deadlines:
                                                 Deadline to File a Proof of Claim:
       For all creditors (except a governmental unit): 8/26/14            For a governmental unit (except as otherwise provided in Fed. R.
                                                                                          Bankr. P. 3002(c)(1)): 10/27/14
                                                      Creditor with a Foreign Address:
         A creditor to whom this notice is sent at a foreign address should read the information under "Claims" on the reverse side.
                                                 Deadline to Object to Exemptions:
                                       Thirty (30) days after the conclusion of the meeting of creditors.
                            Filing of Plan, Hearing on Confirmation of Plan and Attorney Fees
The debtor has filed a plan. The plan or a summary of the plan is enclosed. The hearing on confirmation and to consider a request by debtor's
                                                counsel for payment of legal fees will be held:
                  Date: June 20, 2014, Time: 10:30 AM, Location: 150 West Jefferson Street, 2nd Floor, Joliet, IL 60432
                 The Disclosure of Compensation has been filed and the debtor's attorney is requesting fees of $ 4000.00
     If there are no objections, the Court may confirm the plan and allow fees requested by debtor's counsel to be paid through the plan.
                 Deadline to Object to Debtor's Discharge or to Challenge Dischargeability of Certain Debts: 7/28/14
                                             Creditors May Not Take Certain Actions:
In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions against the debtor, the debtor's
property, and certain codebtors. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can
request the court to extend or impose a stay. If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you
may be penalized. Consult a lawyer to determine your rights in this case.
Address of the Bankruptcy Clerk's Office:                                                        For the Court:
Eastern Division                                                        Clerk of the Bankruptcy Court:
219 S Dearborn                                                          Jeffrey P. Allsteadt
7th Floor
Chicago, IL 60604
Telephone number: 1−866−222−8029
Hours Open: Monday − Friday 8:30 AM − 4:30 PM                           Date: April 30, 2014
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                                                         EXPLANATIONS                                             B9I (Official Form 9I) (12/12)

Filing of Chapter 13    A bankruptcy case under chapter 13 of the Bankruptcy Code (title 11, United States Code) has been filed in this
Bankruptcy Case         court by the debtor(s) listed on the front side, and an order for relief has been entered. Chapter 13 allows an
                        individual with regular income and debts below a specified amount to adjust debts pursuant to a plan. A plan is not
                        effective unless confirmed by the bankruptcy court. You may object to confirmation of the plan and appear at the
                        confirmation hearing. A copy or summary of the plan, if not enclosed, will be sent to you later, and if the
                        confirmation hearing is not indicated on the front of this notice, you will be sent notice of the confirmation hearing.
                        The debtor will remain in possession of the debtor's property and may continue to operate the debtor's business, if
                        any, unless the court orders otherwise.


 Legal Advice            The staff of the bankruptcy clerk's office cannot give legal advice. Consult a lawyer to determine your rights in
                         this case.


Creditors Generally  Prohibited collection actions against the debtor and certain codebtors are listed in Bankruptcy Code § 362 and §
May Not Take Certain 1301. Common examples of prohibited actions include contacting the debtor by telephone, mail or otherwise to
Actions              demand repayment; taking actions to collect money or obtain property from the debtor; repossessing the debtor's
                     property; starting or continuing lawsuits or foreclosures; and garnishing or deducting from the debtor's wages. Under
                     certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can request the court
                     to extend or impose a stay.


Meeting of Creditors    A meeting of creditors is scheduled for the date, time and location listed on the front side. The debtor (both spouses
                        in a joint case) must be present at the meeting to be questioned under oath by the trustee and by creditors. Creditors
                        are welcome to attend, but are not required to do so. The meeting may be continued and concluded at a later date
                        specified in a notice filed with the court.


Claims                  A Proof of Claim is a signed statement describing a creditor's claim. A Proof of Claim form ("Official Form B 10")
                        can be obtained at the United States Courts Web site:
                        (http://www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx) or at any bankruptcy clerk's office. A
                        secured creditor retains rights in its collateral regardless of whether that creditor files a Proof of Claim. If you do not
                        file a Proof of Claim by the "Deadline to file a Proof of Claim" listed on the front side, you might not be paid any
                        money on your claim from other assets in the bankruptcy case. To be paid, you must file a Proof of Claim even if
                        your claim is listed in the schedules filed by the debtor. Filing a Proof of Claim submits the creditor to the
                        jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For example, a secured creditor who
                        files a Proof of Claim may surrender important nonmonetary rights, including the right to a jury trial. Filing
                        Deadline for a Creditor with a Foreign Address: The deadlines for filing claims set forth on the front of this
                        notice apply to all creditors. If this notice has been mailed to a creditor at a foreign address, the creditor may file a
                        motion requesting the court to extend the deadline.
                        Do not include this notice with any filing you make with the court.


Discharge of Debts      The debtor is seeking a discharge of most debts, which may include your debt. A discharge means that you may
                        never try to collect the debt from the debtor. If you believe that the debtor is not entitled to a discharge under
                        Bankruptcy Code § 1328(f), you must file a motion objecting to discharge in the bankruptcy clerk's office by the
                        "Deadline to Object to Debtor's Discharge or to Challenge the Dischargeability of Certain Debts" listed on the front
                        of this form. If you believe that a debt owed to you is not dischargeable under Bankruptcy Code § 523 (a)(2) or (4),
                        you must file a complaint in the bankruptcy clerk's office by the same deadline. The bankruptcy clerk's office must
                        receive the motion or the complaint and any required filing fee by that deadline.

Exempt Property         The debtor is permitted by law to keep certain property as exempt. Exempt property will not be sold and distributed
                        to creditors, even if the debtor's case is converted to chapter 7. The debtor must file a list of all property claimed as
                        exempt. You may inspect that list at the bankruptcy clerk's office. If you believe that an exemption claimed by the
                        debtor is not authorized by law, you may file an objection to that exemption. The bankruptcy clerk's office must
                        receive the objection by the "Deadline to Object to Exemptions" listed on the front side.
Bankruptcy Clerk's      Any paper that you file in this bankruptcy case should be filed at the bankruptcy clerk's office at the address listed
Office                  on the front side. You may inspect all papers filed, including the list of the debtor's property and debts and the list of
                        property claimed as exempt, at the bankruptcy clerk's office.
Creditor with a         Consult a lawyer familiar with United States bankruptcy law if you have any questions regarding your rights in this
Foreign Address         case.
                        −− Refer to Other Side for Important Deadlines and Notices −−
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                                       United States Bankruptcy Court
                                       Northern District of Illinois
In re:                                                                                   Case No. 14-15985-BWB
Leonard B. Young                                                                         Chapter 13
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 0752-1           User: dsirmons                Page 1 of 2                   Date Rcvd: Apr 30, 2014
                               Form ID: b9i                  Total Noticed: 46


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 02, 2014.
db            +Leonard B. Young,    522 Pontiac Street,     Joliet, IL 60432-2258
tr            +Glenn B Stearns,    801 Warrenville Road,     Suite 650,   Lisle, IL 60532-4350
21860252       Advanced Urology Associates,     1541 Riverboat Center Drive,     Joliet, IL 60431-9341
21860255      +Arnold Scott Harris, P.C.,     222 Merchandise Mart Plaza,     Suite 1932,    Chicago, IL 60654-1420
21860256       Associated Radiologist of Joliet,     c/o Creditors Collection Bureau, In,      PO Box 1022,
                Wixom, MI 48393-1022
21860257       Associated Radiologist of Joliet,     39069 Treasury Center,     Chicago, IL 60694-9000
21860259      +Cda/pontiac,    Attn:Bankruptcy,    Po Box 213,    Streator, IL 61364-0213
21860260      +City of Joliet,    PO Box 457,    Wheeling, IL 60090-0457
21867409      +Credit Acceptance,    25505 W 12 Mile Rd #3000,     Southfield MI 48034-8331
21860262       Creditors Collection,    755 Almor Parkway,     Buckingham, IL 60917
21860263       DCSE/MRU,    Bankruptcy Reporting Contact,     P.O. Box 19405,    Springfield, IL 62794-9405
21860264      +Dupage County Circuit Court,     PO Box 707,    Wheaton, IL 60187-0707
21860265      +EM Strategies, Ltd,    PO Box 366,    Hinsdale, IL 60522-0366
21860267    ++GUARANTY BANK,     4000 W BROWN DEER ROAD,     LOAN ADMINISTRATION,    BROWN DEER WI 53209-1221
              (address filed with court: Guaranty Bank,       PO Box 240200,    Milwaukee, WI 53224)
21860271    ++ILLINOIS DEPARTMENT OF REVENUE,      BANKRUPTCY DEPARTMENT,     P O BOX 64338,    CHICAGO IL 60664-0338
              (address filed with court: Illinois Department of Revenue,        Bankruptcy Section Level 7-425,
                100 W. Randolph St.,    Chicago, IL 60601)
21860268      +Ill.Dept. of Healthcare & Family,     Div. of Child Support Enforce-MRU,      509 South 6th, 4th Floor,
                Springfield, IL 62701-1809
21860269       Illinois Department of Revenue,     Office Collection Section,     P.O. Box 64300,
                Chicago, IL 60664-0300
21860270       Illinois Department of Revenue,     Bankruptcy Section,    PO Box 64338,    Chicago, IL 60664-0338
21860272      +Illinois Tollway,    ATTN: Violation Administration Cent,      2700 Ogden Ave.,
                Downers Grove, IL 60515-1703
21860273       Illinois Tollway,    PO Box 5201,    Lisle, IL 60532-5201
21860275      +Joliet Fire Department,    101 E Clinton Street,     Joliet, IL 60432-4137
21860276       Latisha Files,    c/o State Disbursement Unit,     PO Box 5400,    Carol Stream, IL 60197-5400
21860279      +Medical Business Bureau, LLC,     1175 Devin Drive, Suite 171,     Norton Shores, MI 49441-6079
21860278       Medical Business Bureau, LLC,     1460 Renaissance Dr., Ste 400,     Park Ridge, IL 60068-1349
21860280      +Mfg Financial Inc,    Po Box 526262,    Salt Lake City, UT 84152-6262
21860282      +PHH Arval,    Vehicle Accident Services Departmen,     PO Box 22543,    Baltimore, MD 21203-4543
21860284       Silver Cross Hospital,    Bankruptcy Department,     PO Box 739,    Moline, IL 61266-0739
21860286      +State Collection Servi,    Attn: Bankruptcy,     2509 S Stoughton Rd,    Madison, WI 53716-3314
21860288      +Vision Financial Servi,    1900 W Severs Rd,     La Porte, IN 46350-7855
21860289       Vision Financial Services,     PO Box 1768,    La Porte, IN 46352-1768
21860290       Willowbrook Police Department,     Automated Red Light Enforcement,     PO Box 22091,
                Tempe, AZ 85285-2091
21860292      +Yatin Shah, MD, SC,    2025 S Chicago Street,     Suite 1,    Joliet, IL 60436-3173
21860291       Yatin Shah, MD, SC,    34609 Eagle Way,     Chicago, IL 60678-1346

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty           E-mail/Text: davidsiegellaw@hotmail.com May 01 2014 01:18:06        David M Siegel,
               David M. Siegel & Associates,    790 Chaddick Drive,     Wheeling, IL 60090
ust          +E-mail/Text: USTPREGION11.ES.ECF@USDOJ.GOV May 01 2014 01:19:49        Patrick S Layng,
               Office of the U.S. Trustee, Region 11,     219 S Dearborn St,    Room 873,   Chicago, IL 60604-2027
21860253     +EDI: AFNIRECOVERY.COM May 01 2014 00:43:00       AFNI,    1310 Martin Luther King Drive,
               Bloomington, IL 61701-1465
21860258     +EDI: CINGMIDLAND.COM May 01 2014 00:43:00       AT&T,    Bankruptcy Dept,   5407 Andrew Highway,
               Midland, TX 79706-2851
21860254     +E-mail/Text: RBALTAZAR@ARMORSYS.COM May 01 2014 01:21:39        Armor Systems Co,    1700 Kiefer Dr,
               Ste 1,   Zion, IL 60099-5105
21860261     +E-mail/Text: customerservice@jolietcity.org May 01 2014 01:19:58        City of Joliet,
               City Collector,   150 W. Jefferson Street,     Joliet, IL 60432-4148
21860266     +E-mail/Text: bknotice@erccollections.com May 01 2014 01:20:15        Enhanced Recovery Corp,
               Attention: Client Services,    8014 Bayberry Rd,     Jacksonville, FL 32256-7412
21860274      EDI: IRS.COM May 01 2014 00:43:00      IRS,    Internal Revenue Service,    P.O. Box 7346,
               Philadelphia, PA 19101-7346
21860277     +E-mail/Text: legal@lighthousefinance.com May 01 2014 01:18:37        Lighthouse Financial,
               4950 N. Cumberland Ave.,    Harwood Heights, IL 60706-2902
21860281     +E-mail/Text: pmaiorano@parkviewortho.com May 01 2014 01:21:05        Parkview Orthopaedic,
               7600 College Dr.,   Palos Heights, IL 60463-1066
21860283     +E-mail/Text: mabraham@pdskin.com May 01 2014 01:19:01        Premier Dermatology,
               2051 Plainfield Road,    Crest Hill, IL 60403-1865
21860285      EDI: NEXTEL.COM May 01 2014 00:43:00      Sprint,     Attn: Bankruptcy Dept.,   P.O. Box 7949,
               Overland Park, KS 66207-0949
21860287      EDI: USCELLULAR.COM May 01 2014 00:43:00       US Cellular,    Bankruptcy Department,    PO Box 7835,
               Madison, WI 53707-7835
                                                                                                TOTAL: 13

           ***** BYPASSED RECIPIENTS *****
NONE.                                                                                           TOTAL: 0
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District/off: 0752-1                  User: dsirmons                     Page 2 of 2                          Date Rcvd: Apr 30, 2014
                                      Form ID: b9i                       Total Noticed: 46


             ***** BYPASSED RECIPIENTS (continued) *****

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: May 02, 2014                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 30, 2014 at the address(es) listed below:
              David M Siegel   on behalf of Debtor Leonard B. Young davidsiegellaw@hotmail.com,
               davidmsiegel@hotmail.com;author@proofofpayments.com;johnellmannlaw@gmail.com
              Glenn B Stearns   mcguckin_m@lisle13.com
              Patrick S Layng   USTPRegion11.ES.ECF@usdoj.gov
                                                                                            TOTAL: 3
